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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                   Plaintiff,

       v.                                     Crim. Action No.: 1:21-CR-02
                                                            (Judge Kleeh)

 STEWART JENKINS,

                   Defendant.

    ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
      CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 58],
       ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

       On   September    22,    2021,   the    Defendant,    Stewart     Jenkins

 (“Jenkins”),     appeared     before   United    States    Magistrate    Judge

 Michael J. Aloi and moved for permission to enter a plea of GUILTY

 to Count One of the Indictment, without a written plea agreement,

 charging him with Possession with Intent to Distribute Cocaine

 Base, in violation of Title 21, United States Code, Sections

 841(a)(1), 841(b)(1)(C). Jenkins stated that he understood that

 the magistrate judge is not a United States District Judge, and

 Jenkins consented to pleading before the magistrate judge.                This

 Court referred Jenkins’s plea of guilty to the magistrate judge

 for the purpose of administering the allocution, pursuant to

 Federal Rule of Criminal Procedure 11, making a finding as to

 whether    the   plea   was   knowingly   and    voluntarily   entered,    and

 recommending to this Court whether the plea should be accepted.
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       Based upon Jenkins’s statements during the plea hearing, and

 the Government’s proffer establishing that an independent factual

 basis for the plea existed, the magistrate judge found that Jenkins

 was competent to enter a plea, that the plea was freely and

 voluntarily given, that Jenkins was aware of the nature of the

 charges against him and the consequences of his plea, and that a

 factual basis existed for the tendered plea.         The magistrate judge

 issued a Report and Recommendation Concerning Plea of Guilty in

 Felony Case (“R&R”) [Dkt. No. 58] finding a factual basis for the

 plea and recommending that this Court accept Jenkins’s plea of

 guilty to Count One of the Indictment.

       The magistrate judge remanded Defendant to the custody of the

 United States Marshals Service.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R.        He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R.         Neither Jenkins nor the

 Government filed objections to the R&R.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R

 [Dkt. No. 58], provisionally ACCEPTS Jenkins’s guilty plea, and

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 ADJUDGES him GUILTY of the crime charged in Count One of the

 Indictment.

       Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea until it has

 received     and   reviewed   the   presentence    investigation     report

 prepared in this matter.

       Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS the

 following:

       1.     The Probation Officer shall undertake a presentence

 investigation of Jenkins, and prepare a presentence investigation

 report for the Court;

       2.     The Government and Jenkins shall each provide their

 narrative descriptions of the offense to the Probation Officer by

 October 28, 2021;

       3.     The presentence investigation report shall be disclosed

 to Jenkins, his counsel, and the Government on or before December

 28, 2021; however, the Probation Officer shall not disclose any

 sentencing recommendations made pursuant to Fed. R. Crim. P.

 32(e)(3);

       4.     Counsel may file written objections to the presentence

 investigation report on or before January 11, 2022;

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       5.    The Office of Probation shall submit the presentence

 investigation report with addendum to the Court on or before

 January 25, 2022; and

       6.    Counsel may file any written sentencing memorandum or

 statements    and      motions   for   departure   from   the   Sentencing

 Guidelines, including the factual basis for the same, on or before

 January 26, 2022.

       The Court further ORDERS that prior to sentencing, counsel

 for Defendant review with him the revised Standard Probation and

 Supervised Release Conditions adopted by this Court on November

 29, 2016, pursuant to the standing order entered by Chief Judge

 Groh, In Re: Revised Standard Probation and Supervised Release

 Conditions, 3:16-MC-56.

       The Court will conduct the Sentencing Hearing for Jenkins on

 February 28, 2022, at 1:00 p.m., at the Clarksburg, West Virginia

 point of holding court.          If counsel anticipates having multiple

 witnesses    or   an   otherwise   lengthy   sentencing   hearing,   please

 notify the Judge’s chamber staff so that an adequate amount of

 time can be scheduled.

       It is so ORDERED.




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       The Clerk is directed to transmit copies of this Order to

 counsel of record and all appropriate agencies.

 DATED: October 18, 2021.


                                    /s/ Thomas S. Kleeh
                                    THOMAS S. KLEEH
                                    UNITED STATES DISTRICT JUDGE




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